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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

  SYMBOLOGY INNOVATIONS, LLC,

           Plaintiff,

  v.                                                          Case No. 0:16-cv-61734-WPD

  PGA TOUR, INC.

           Defendant.


   ORDER GRANTING DEFENDANT PGA TOUR, INC.’S UNOPPOSED MOTION FOR
       EXTENSION OF TIME TO RESPOND TO PLAINTIFF’S COMPLAINT

           THIS MATTER is before the Court upon Defendant PGA Tour, Inc.’s Unopposed

  Motion for Extension of Time to Respond to Plaintiff’s Complaint, filed on August 12, 2016.

  [DE 16]. The Court, having reviewed the Motion and being fully advised in the premises,

  hereby ORDERS and ADJUDGES as follows:

           1.      The Motion [DE 10] is GRANTED.

           2.      The deadline for Defendant to serve and file a response to Plaintiff’s Complaint is

                   extended to September 6, 2016.

           DONE AND ORDERED in Chambers at Ft. Lauderdale, Broward County, Florida this

  16th day of August, 2016.




  cc: All counsel of record




  {38925304;1}
